Case 2:25-cv-05204-MCS-SSC            Document 1    Filed 06/07/25   Page 1 of 5 Page ID #:1




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    5
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    6
                                    UNITED STATES DISTRICT COURT
    7
    8                            CENTRAL DISTRICT OF CALIFORNIA

    9   THERESA BROOKE, a married woman
        dealing with her sole and separate claim,       Case No:
   10
   11                           Plaintiff,              VERIFIED COMPLAINT
   12   vs.                                             (JURY TRIAL DEMANDED)
   13
        ORANGE TREE INN LP, a California
   14   limited partnership,
   15
                                Defendant.
   16
               Plaintiff alleges:
   17
                                                   PARTIES
   18
               1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
   19
        and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
   20
        the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
   21
        California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
   22
        to the loss of a leg.
   23
               2.      Defendant, Orange Tree Inn LP, owns and/or operates and does business
   24
        as the hotel Orange Tree Inn located at 1920 State Street, Santa Barbara, California
   25
        93101. Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. §
   26
        12181(7)(A), which offers public lodging services. On information and belief,
   27
        Defendant’s hotel was built or renovated after March 15, 2012.
   28
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    1                                          JURISDICTION
    2          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
    3   U.S.C. § 12188.
    4          4.     Plaintiff’s claims asserted herein arose in this judicial district and
    5   Defendant does substantial business in this judicial district.
    6          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
    7   in that this is the judicial district in which a substantial part of the acts and omissions
    8   giving rise to the claims occurred.
    9          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
   10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
   11   decline jurisdiction.
   12                                          ALLEGATIONS
   13          7.     Plaintiff alleges that Defendant’s hotel’s disabled parking violates Section
   14   502.6 because the disabled parking does not have signs posted with the International
   15   Sign of Disability.
   16          8.     Disabled parking spots relate to Plaintiff’s disability because she has only
   17   one leg and uses a wheelchair, and disabled parking provides for an access aisle and
   18   closer distances to an accessible entrance.
   19          9.     Plaintiff formerly worked in the hospitality industry. She is an avid
   20   traveler across California for purposes of leisure travel and to “test” whether various
   21   hotels comply with disability access laws, doing so at least once per month. Testing is
   22   encouraged by the Ninth Circuit.
   23          10.    In early June 2025, Plaintiff visited Defendant’s hotel, which has a
   24   parking lot and disabled parking spaces. However, the disabled parking spaces do not
   25   have a sign posted at each of them that is 60 inches high and that identifies the space as
   26   a disabled parking spot. As a result of the violation that she personally encountered, she
   27   was deterred from entering the Hotel lobby and left the Hotel.
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    1          11.    Plaintiff has certain plans of returning and staying at the Hotel in October
    2   2025 during one of her many trips across Southern California, in the hopes that
    3   Defendant will have remediated the barrier by then thereby allowing her full and equal
    4   access. If the barrier is not removed by the time of her return, she will remain deterred.
    5          12.    It is readily achievable and inexpensive to modify the Hotel to move a
    6   disabled parking spot to the shortest possible route to the lobby entrance.
    7          13.    Without injunctive relief, Plaintiff and others will continue to be unable to
    8   independently use Defendant’s hotel in violation of her rights under the ADA.
    9                                   FIRST CAUSE OF ACTION
   10      14. Plaintiff incorporates all allegations heretofore set forth.
   11          15.    Defendant has discriminated against Plaintiff and others in that it has
   12   failed to make its public lodging services fully accessible to, and independently usable
   13   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
   14   121282(b)(2)(iv) and the 2010 Standards, as described above.
   15          16.    Defendant has discriminated against Plaintiff in that it has failed to
   16   remove architectural barriers to make its lodging services fully accessible to, and
   17   independently usable by individuals who are disabled in violation of 42 U.S.C.
   18   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
   19   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
   20   services nor result in an undue burden to Defendant.
   21          17.    In violation of the 2010 Standards, Defendant’s Hotel parking lot does not
   22   comply with Section 502.6 of the Standards, as described above.
   23          18.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
   24   as described above, is readily achievable by the Defendant. Id. Readily achievable
   25   means that providing access is easily accomplishable without significant difficulty or
   26   expense.
   27
   28


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    1          19.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
    2   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
    3          20.      Without the requested injunctive relief, Defendant’s non-compliance with
    4   the ADA’s requirements that its parking lot be fully accessible to, and independently
    5   useable by, disabled people is likely to recur.
    6          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
    7                a. Declaratory Judgment that at the commencement of this action Defendant
                        was in violation of the specific requirements of Title III of the ADA
    8                   described above, and the relevant implementing regulations of the ADA;
    9
                     b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
   10                   36.504(a) which directs Defendant to take all steps necessary to bring its
   11                   parking lot into full compliance with the requirements set forth in the
                        ADA;
   12
                     c. Payment of costs and attorney’s fees;
   13
   14                d. Provision of whatever other relief the Court deems just, equitable and
                        appropriate.
   15
                                        SECOND CAUSE OF ACTION
   16
   17      21. Plaintiff realleges all allegations heretofore set forth.
   18          22.      Defendant has violated the Unruh by denying Plaintiff equal access to its
   19   public accommodation on the basis of her disability as outlined above.
   20          23.      Unruh provides for declaratory and monetary relief to “aggrieved
   21   persons” who suffer from discrimination on the basis of their disability.
   22          24.      Plaintiff has been damaged by the Defendant’s non-compliance with
   23   Unruh.
   24          25.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
   25   relief as the Court considers appropriate, including monetary damages in an amount of
   26   $4,000.00, and not more.
   27          26.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
   28   amount to be proven at trial.


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    1        WHEREFORE, Plaintiff demands judgment against Defendant as follows:
    2           a. Declaratory Judgment that at the commencement of this action Defendant
                   was in violation of the specific requirements of Unruh; and
    3
    4           b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                   36.504(a) which directs Defendant to take all steps necessary to bring its
    5              parking lot into full compliance with the requirements set forth in the
    6              ADA;

    7           c. Payment of costs and attorney’s fees;
    8           d. Damages in the amount of $4,000.00; and
    9
                e. Provision of whatever other relief the Court deems just, equitable and
   10              appropriate.
                                   DEMAND FOR JURY TRIAL
   11
             Plaintiff hereby demands a jury trial on issues triable by a jury.
   12
             RESPECTFULLY SUBMITTED this 6th day of June, 2025.
   13
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   16                                            P. Kristofer Strojnik (242728)
                                                 Attorneys for Plaintiff
   17
                                            VERIFICATION
   18
   19        I declare under penalty of perjury that the foregoing is true and correct.

   20                      DATED this 6th day of June, 2025.
   21
   22
   23
   24               ______________________
                    Theresa Marie Brooke
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